Appeal Dismissed and Memorandum Opinion filed August 15, 2024.




                                      In The

                         Fourteenth Court of Appeals


                               NO. 14-24-00334-CV


                   FRANCISCO J. RODRIGUEZ, Appellant

                                         V.

                        EXODUS TITLE, LLC, Appellee


                    On Appeal from the 234th District Court
                            Harris County, Texas
                      Trial Court Cause No. 2021-75436


                          MEMORANDUM OPINION

      This is an attempted appeal from an order denying cross-plaintiff’s motion to
compel and sanctions. Although appellant characterizes it as a permissive appeal,
the record does not contain the trial court’s written order permitting an appeal. See
Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(d). Generally, appeals may be taken
only from final judgments. Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex.
2001). When orders do not dispose of all pending parties and claims, the orders
remain interlocutory and unappealable until final judgment is rendered unless a
statutory exception applies. Bally Total Fitness Corp. v. Jackson, 53 S.W.3d 352,
352 (Tex. 2001); Jack B. Anglin Co., Inc. v. Tipps, 842 S.W.2d 266, 272 (Tex.
1992) (orig. proceeding). The trial court has not disposed of all pending claims and
parties.

       On June 7, 2024, notification was transmitted to the parties of this court’s
intention to dismiss the appeal for want of jurisdiction unless appellant filed a
response demonstrating grounds for continuing the appeal on or before June 17,
2024. See Tex. R. App. P. 42.3(a). Appellant did not respond.

       Accordingly, we dismiss the appeal for want of subject-matter jurisdiction.

                                  PER CURIAM
Panel consists of Chief Justice Christopher and Justices Spain and Poissant.




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